
Nicholson, C. J.,
delivered the opinion of the court.
On the 21st of November, 1872, complainants, being cotton merchants in Nashville, sold and delivered to defendants twenty-six bales of cotton, for which they *634promised to pay to complainants $2,147 immediately after the delivery. ,
Defendants having failed to pay the purchase money, complainants, on the 27th of November, 1872, filed their bill and attached the cotton, to enforce the lien given them as cotton merchants, by sec. 1993d, of Thompson &amp; Steger’s Statutes.
The cotton was replevied by Smith, Woodward, and Stillman, who gave bond conditioned to pay the debt, etc.
Upon the hearing, the Chancellor decreed that complainants were entitled to have their lien enforced, giving judgment against Smith, Woodward, and Still-man, on the replevin bond, from which decree they have appealed.
The only point made for defendants is, that the act of 1867-8, ch. 35, carried into the aforesaid compilation of statutes as sec. 1993d, is invalid because it is a partial law.
The act gives a lien for five days to all cotton merchants, factors, or brokers, for the purchase money for cotton .sold, to be enforced by attachment.
As all persons who sell cotton as merchants, factors, or brokers, are embraced by the act, and entitled to its benefits; and as every citizen of the State can bring himself within its operation, by becoming such merchant, factor, or broker, the act is general, and not obnoxious to the objection of being a partial law.
There is no error in the decree, and it is affirmed with costs.
